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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMILLAH NADERAH GRIFFIN                      :      CIVIL ACTION
                                              :
       v.                                     :      NO. 17-5378
                                              :
PIEDMONT AIRLINES                             :

                            SETTLEMENT CONFERENCE ORDER

               Pursuant to the direction of the Honorable Mitchell S. Goldberg, a settlement
conference will be held in Chambers before the Honorable David R. Strawbridge in Room 3030,
3rd Floor, United States Courthouse, 601 Market Street, Philadelphia, Pennsylvania 19106 on
Monday, November 19, 2018 commencing at 9:30 a.m.

                Any individual plaintiff or other person bringing a claim (counterclaim or
third-party claim) is required to appear in person. All other entities must appear through a
duly-authorized representative knowledgeable about the facts of the case and with full settlement
authority. The Court will grant an exception to this requirement only upon a written showing of
good cause and exceptional circumstances.

                 The Court fully expects that the parties have a serious interest in pursuing
settlement. Prior to the conference, but not later than November 6, 2018, counsel for plaintiff is
to set out to defendant a written good faith demand. The defendant is to respond to the demand in
good faith on or before November 9, 2018 and is then to initiate a discussion with opposing
counsel regarding the parties= settlement positions. Copies of the written demand and offer are to
be sent to the Court. To the extent that any demands and/or offers have already been made, they are
to be updated (even if the update is merely a confirmation of previous demands/offers) based upon
the current status of the case and a serious re-evaluation of all issues potentially affecting
settlement. The Court expects the parties to be fully prepared to discuss all issues relevant to the
settlement process.

                The parties are directed to submit to the Court on or before November 13, 2018, a
settlement memorandum of no more than four (4) typed double-spaced pages. Settlement
conference memoranda are to be exchanged and submitted to chambers, but are not to be
filed with the Clerk of Court. If counsel feel further communication with the Court is necessary
on an ex parte basis, they may provide the Court with a brief submission. If they do so, they are to
advise all other counsel of the fact that they have done so.

                The memorandum shall set out in the following in order:

                1.     The names, telephone numbers and e-mail addresses of counsel to appear at
                       the conference on behalf of the party;

                2.     The name of the party or the party=s representative, including insurer if
                       applicable (with title or position) to appear at the conference;
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              3.      The status of any pending motions;

              4.      The status of discovery;

              5.      A brief statement of the factual and legal basis of the party=s claims and/or
                      defenses, including the elements and manner of proof;

              6.      A brief statement of the factual and legal basis of the party=s damages,
                      including the elements and manner of proof of their damages or, as
                      appropriate, its position on damages claimed by any opposing party;

              7.      All substantive submissions presented to the EEOC (or PHRC) pertaining
                      to this claim.

              8.      The last demand and/or offer; and

              9.      Any other matters that counsel believe may be relevant to settlement
                      discussions.

            All submissions to the Court                  must    be   sent    electronically   to
Strawbridge_Chambers@paed.uscourts.gov.

              Be advised that Chambers does not have a color printer. Any photo
submissions attached to the settlement conference memoranda MUST be hand delivered or
mailed to the Chambers.

                The Court finds that diagrams, photos, schematics and particularly relevant
documents are often helpful and their submission is encouraged. If any such items are in color,
the color copies are to be brought to the conference. If any documents are over five (5) pages in
length, counsel shall highlight or otherwise draw particular attention to the critically relevant
portion of the document. Any submission which, including exhibits is over 20 pages, shall not to
be submitted via facsimile or e-mail and should be sent via overnight mail or hand-delivery.
Exhibits to any memorandum must be indexed and tabbed for ease of review. Counsel are
required to review Judge Strawbridge=s Standard Policy and Procedures pertaining to settlement
on the U.S. District Court for the Eastern District of Pennsylvania=s website
(http://www.paed.uscourts.gov).

                                                    BY THE COURT:

Date: October 23, 2018                              /s/ David R. Strawbridge, USMJ
                                                    David R. Strawbridge
                                                    United States Magistrate Judge
                                                    267-299-7790 - telephone
                                                    267-299-5065 - facsimile
